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                        UNITED STATES DISTRICT COURT
                      IN THE WESTERN DISTRICT OF TEXAS
                               WACO DIVISION


DATA SCAPE LIMITED,
                                                  C.A. No. 6:19-cv-174
               Plaintiff,

       v.
                                                  JURY TRIAL DEMANDED
VERIZON COMMUNICATIONS, INC.,
CELLCO PARTNERSHIP D/B/A VERIZON
WIRELESS, and VERIZON CONNECT,
INC.,

               Defendants.



                   COMPLAINT FOR PATENT INFRINGEMENT

       This is an action for patent infringement arising under the Patent Laws of the United

States of America, 35 U.S.C. § 1 et seq. in which plaintiff Data Scape Limited (“Plaintiff,”

“Data Scape”) makes the following allegations against defendants Dell Technologies Inc.,

Dell Inc., and EMC Corporation (each “Defendant” or collectively “Defendants”):

                                        PARTIES

       1.      Data Scape is a company organized under the laws of Ireland with its office

located at Office 115, 4-5 Burton Hall Road, Sandyford, Dublin 18, Ireland.
       2.      On information and belief, defendant Verizon Communications Inc.

(“Verizon Communications”) is a Delaware corporation with a principal place of business

at 1095 Avenue of the Americas, New York, New York 10036. Verizon Communications

has additional offices at 11950 Don Haskins Drive, El Paso, Texas 79936. Verizon

Communications may be served through its registered agent, CT Corporation System, 350

North Paul Street, Dallas, Texas 75201.

       3.      On information and belief, defendant Cellco Partnership d/b/a Verizon

Wireless (“Cellco Partnership”) is a Delaware partnership with its principal place of
business at 1 Verizon Way, Basking Ridge, New Jersey 07920. Cellco Partnership has


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additional offices at 1820 S. Valley Mills Drive., Waco Texas, 76711, 5301 Bosque Blvd.,

Ste. 120, Waco, Texas 76710, and 2812 W. Loop 340, Suite#H-112, Waco, Texas 76711.

Cellco Partnership is wholly owned by its corporate parent, Verizon Communications and

are collectively referred to as “Verizon Wireless.” Cellco Partnerhsip may be served

through its registered agent, The Corporation Trust Company, Corporation Trust Center,

1209 Orange Street, Wilmington, DE 19801.

       4.      On information and belief, defendant Verizon Connect, Inc. is a Delaware

corporation with a principal place of business at 2002 Summit Blvd., Suite 1800, Atlanta

GA. On further information and belief, Verizon Connect, Inc. has additional offices at

10801 North MoPac Expressway, Building 3, Suite 500, Austin, Texas 78759. Verizon

Connect may be served through its registered agent, CT Corporation System, 350 North

Paul Street, Dallas, Texas 75201. Verizon Connect, Inc. is wholly owned by its corporate

parent, Verizon Communications are collectively referred to herein as “Verizon Connect.”

                            JURISDICTION AND VENUE

       5.      This action arises under the patent laws of the United States, Title 35 of the

United States Code. This Court has original subject matter jurisdiction pursuant to 28

U.S.C. §§ 1331 and 1338(a).

       6.      This Court has personal jurisdiction over each defendant in this action
because each defendant has committed acts within the Western District of Texas giving

rise to this action and has established minimum contacts with this forum such that the

exercise of jurisdiction over each defendant would not offend traditional notions of fair

play and substantial justice.    Each defendant, directly and through subsidiaries or

intermediaries, has committed and continues to commit acts of infringement in this District

by, among other things, offering to sell and selling products and/or services that infringe

the asserted patents.

       7.      Venue is proper in this district under 28 U.S.C. § 1400(b). Each defendant
has established places of business in the Western District of Texas. Each defendant is


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registered to do business in Texas. Upon information and belief, each defendant has

transacted business in this District and has committed acts of direct and indirect

infringement in this District.

                                         COUNT I

                  INFRINGEMENT OF U.S. PATENT NO. 8,386,581

  (Against Verizon Communications and Cellco Partnership collectively “Verizon

                                         Wireless”)

       8.      Data Scape is the owner by assignment of United States Patent No.

8,386,581 (“the ’581 Patent”), entitled “Communication System And Its Method and

Communication Apparatus And Its Method.” The ’581 Patent was duly and legally issued

by the United States Patent and Trademark Office on February 26, 2013. A true and correct

copy of the ’581 Patent is included as Exhibit A.

       9.      On information and belief, Verizon Wireless has offered for sale, sold

and/or imported into the United States products and services that infringe the ’581 patent,

and continues to do so. By way of illustrative example, these infringing products and

services include, without limitation, Verizon Wireless smartphones using the Verizon

Cloud application, including the Palm device, and all versions and variations thereof since

the issuance (“Accused Instrumentalities”).
       10.     On information and belief, Verizon Wireless has directly infringed and

continues to infringe the ‘581 Patent, for example, by making, selling, offering for sale,

and/or importing the Accused Instrumentalities, and through its own use and testing of the

Accused Instrumentalities, which constitute communication apparatus of Claim 1 of the

‘581 Patent comprising: a storage unit configured to store content data to a storage medium;

a communication unit configured to communicate with an external apparatus; a controller

configured to edit a list so that content data is registered in the list, to uniquely associate

the list with the external apparatus using a unique identification of the external apparatus,
to extract the list associated with the external apparatus from a plurality of lists in the


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communication apparatus when the external apparatus is connected to the communication

apparatus, and to control transferring of content data registered in the extracted list to the

external apparatus. Upon information and belief, Verizon Wireless uses the Accused

Instrumentalities, which are infringing systems, for its own internal non-testing business

purposes, while testing the Accused Instrumentalities, and while providing technical

support and repair services for the Accused Instrumentalities to Verizon Wireless’s

customers.

        11.     On information and belief, Verizon Wireless has had knowledge of the ‘581

Patent since at least the filing of the original Complaint in this action, or shortly thereafter,

and on information and belief, Verizon Wireless knew of the ‘581 Patent and knew of its

infringement, including by way of this lawsuit. By the time of trial, Verizon Wireless will

have known and intended (since receiving such notice) that their continued actions would

actively induce and contribute to the infringement of the claims of the ‘581 Patent.

        12.     On information and belief, use of the Accused Instrumentalities in their

ordinary and customary fashion results in infringement of the claims of the ‘581 Patent.

        13.     Verizon Wireless’s affirmative acts of making, using, selling, offering for

sale, and/or importing the Accused Instrumentalities have induced and continue to induce

users of the Accused Instrumentalities to use the Accused Instrumentalities in their normal
and customary way to infringe the claims of the ‘581 Patent, knowing that when the

Accused Instrumentalities are used in their ordinary and customary manner, such systems

constitute infringing communication systems comprising: a storage unit configured to store

content data to a storage medium; a communication unit configured to communicate with

an external apparatus; a controller configured to edit a list so that content data is registered

in the list, to uniquely associate the list with the external apparatus using a unique

identification of the external apparatus, to extract the list associated with the external

apparatus from a plurality of lists in the communication apparatus when the external
apparatus is connected to the communication apparatus, and to control transferring of


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content data registered in the extracted list to the external apparatus. For example, Verizon

Wireless explains to customers the benefits of using the Accused Instrumentalities, such as

by touting their advantages of allowing “Backup and sync automatically. Keep your

important stuff saved and up to date. With Verizon Cloud, your daily changes are

automatically       protected       on       our       secure      servers.”             See

https://www.verizonwireless.com/solutions-and-services/verizon-cloud/.              Verizon

Wireless also induces its customers to use the Accused Instrumentalities to infringe other

claims of the ‘581 Patent. Verizon Wireless specifically intended and was aware that the

normal and customary use of the Accused Instrumentalities on compatible systems would

infringe the ‘581 Patent. Verizon Wireless performed the acts that constitute induced

infringement, and would induce actual infringement, with the knowledge of the ‘581 Patent

and with the knowledge, or willful blindness to the probability, that the induced acts would

constitute infringement. On information and belief, Verizon Wireless engaged in such

inducement to promote the sales of the Accused Instrumentalities, e.g., through Verizon

Wireless’s user manuals, product support, marketing materials, demonstrations,

installation support, and training materials to actively induce the users of the accused

products to infringe the ‘581 Patent. Accordingly, Verizon Wireless has induced and

continues to induce end users of the accused products to use the accused products in their
ordinary and customary way with compatible systems to make and/or use systems

infringing the ‘581 Patent, knowing that such use of the Accused Instrumentalities with

compatible systems will result in infringement of the ‘581 Patent. Accordingly, Verizon

Wireless has been (since at least as of filing of the original complaint), and currently is,

inducing infringement of the ‘581 Patent, in violation of 35 U.S.C. § 271(b).

       14.      Verizon Wireless has also infringed, and continues to infringe, claims of the

‘581 patent by offering to commercially distribute, commercially distributing, making,

and/or importing the Accused Instrumentalities, which are used in practicing the process,
or using the systems, of the ‘581 patent, and constitute a material part of the invention.


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Verizon Wireless knows the components in the Accused Instrumentalities to be especially

made or especially adapted for use in infringement of the ‘581 patent, not a staple article,

and not a commodity of commerce suitable for substantial noninfringing use. For example,

the ordinary way of using the Accused Instrumentalities infringes the patent claims, and as

such, is especially adapted for use in infringement. Accordingly, Verizon Wireless has been,

and currently is, contributorily infringing the ‘581 patent, in violation of 35 U.S.C. § 271(c).

       15.     For similar reasons, Verizon Wireless also infringes the ’581 Patent by

supplying or causing to be supplied in or from the United States all or a substantial portion

of the components of the Accused Instrumentalities, where such components are

uncombined in whole or in part, in such manner as to actively induce the combination of

such components outside of the United States in a manner that would infringe the ’581

Patent if such combination occurred within the United States. For example, Verizon

Wireless supplies or causes to be supplied in or from the United States all or a substantial

portion of the hardware (e.g., Palm device) and software (e.g., Verizon Cloud) components

of the Accused Instrumentalities in such a manner as to actively induce the combination of

such components outside of the United States.

       16.     Verizon Wireless also indirectly infringes the ’581 Patent by supplying or

causing to be supplied in or from the United States components of the Accused
Instrumentalities that are especially made or especially adapted for use in infringing the

’581 Patent and are not a staple article or commodity of commerce suitable for substantial

non-infringing use, and where such components are uncombined in whole or in part,

knowing that such components are so made or adapted and intending that such components

are combined outside of the United States in a manner that would infringe the ’581 Patent

if such combination occurred within the United States. Because the Accused

Instrumentalities are designed to operate as the claimed system and apparatus, the Accused

Instrumentalities have no substantial non-infringing uses, and any other uses would be
unusual, far-fetched, illusory, impractical, occasional, aberrant, or experimental. For


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example, Verizon Wireless supplies or causes to be supplied in or from the United States

all or a substantial portion of the hardware (e.g., Palm device) and software (e.g., Verizon

Cloud application) components that are especially made or especially adapted for use in

the Accused Instrumentalities, where such hardware and software components are not

staple articles or commodities of commerce suitable for substantial noninfringing use,

knowing that such components are so made or adapted and intending that such components

are combined outside of the United States, as evidenced by Verizon Wireless’s own actions

or instructions to users in and enabling and configuring the infringing functionalities of the

Accused Instrumentalities.

       17.     The Accused Instrumentalities include “[a] communication apparatus.” For

example, the Palm device as sold by Verizon includes the Verizon Cloud application:




The Palm device with the Verizon Cloud application is an example of a communication

apparatus designed to transmit data from the Palm device to the Verizon Cloud servers:




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https://www.verizonwireless.com/solutions-and-services/verizon-cloud/.

       18.     The Accused Instrumentalities include “a storage unit configured to store
content data to a storage medium.” For example, the Palm device includes gigabytes of

storage, designed to store various content data (e.g. contacts, photos, videos, music, and

documents).




See also https://www.palm.com/product:




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       19.    The Accused Instrumentalities further include “a communication unit

configured to communicate with an external apparatus.” For example, the Palm device is

configured to communicate with the Verizon Cloud servers (an example of an external

apparatus) to backup and sync data contained on the device:




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https://www.verizonwireless.com/solutions-and-services/verizon-cloud/

       20.     The Accused Instrumentalities further include “a controller configured to

edit a list so that content data is registered in the list.” For example, the Palm device

includes a touch screen interface that allows a user to choose which data in the list of

contacts, photos, videos, music, and documents will backed up using the Verizon Cloud

application:




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https://www.verizonwireless.com/support/verizon-cloud-faqs/


       21.      The Accused Instrumentalities further include a controller configured “to

uniquely associate the list with the external apparatus using a unique identification of the

external apparatus.” For example, each Verizon Cloud account is associated with a unique

mobile number and email address which identifies the content stored in the Verizon Cloud

servers:




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https://www.verizonwireless.com/support/verizon-cloud-faqs/




       22.     The Accused Instrumentalities further include a controller configured “to

extract the list associated with the external apparatus from a plurality of lists in the

communication apparatus when the external apparatus is connected to the communication

apparatus.” For example, when the Palm device is connected to the Verizon Cloud server

it will compare the lists of data stored in the Verizon Cloud server with the lists of data
selected by the user in the Palm device to determine if any data needs to be backed up:



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https://www.verizonwireless.com/support/verizon-cloud-faqs/
        23.     The Accused Instrumentalities further include a controller configured “to

control transferring of content data registered in the extracted list to the external apparatus.”

For example, the Palm device using the Verizon Cloud application is configured to

compare the data already transmitted to the Verizon Cloud Drive with the data present in

the Palm device that the user selected to be backed up and transmit new or changed data
from the Palm device to the Verizon cloud server (e.g. a new photo that was not previously

saved on the Verizon Cloud server):




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https://www.verizonwireless.com/support/verizon-cloud-faqs/

For example, if the user has selected Photos to be backed up and if the Palm device

determines that a photo has been taken that has not been backed up or synced with the

Verizon Cloud server, the Palm device will inform the user that there is data that has not

yet been backed up, and will transfer only that photo upon performing a back up (e.g. the

photo will be transferred to Verizon Cloud during the next back up or upon the “Back Up
Now” button being selected).




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          24.   Verizon Wireless also infringes other claims of the ’581 Patent, directly and

through inducing infringement and contributory infringement.

          25.   On information and belief, use of the Accused Instrumentalities in their

ordinary and customary fashion results in infringement of the methods claimed by the ’581

Patent.

          26.   By making, using, offering for sale, selling and/or importing into the United

States the Accused Instrumentalities, and touting the benefits of using the Accused

Instrumentalities’ data communication features, Verizon Wireless has injured Data Scape

and is liable to Data Scape for infringement of the ’929 Patent pursuant to 35 U.S.C. § 27

          27.   As a result of Verizon Wireless’s infringement of the ’581 Patent, Data

Scape is entitled to monetary damages in an amount adequate to compensate for each

Verizon Wireless’s infringement, but in no event less than a reasonable royalty for the use

made of the invention by Verizon Wireless, together with interest and costs as fixed by the
Court.


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                                        COUNT II

                 INFRINGEMENT OF U.S. PATENT NO. 7,720,929

  (Against Verizon Communications and Cellco Partnership collectively “Verizon

                                        Wireless”)

       28.     Data Scape is the owner by assignment of United States Patent No.

7,720,929 (“the ’929 Patent”), entitled “Communication System And Its Method and

Communication Apparatus And Its Method.” The ’929 Patent was duly and legally issued

by the United States Patent and Trademark Office on May 18, 2010. A true and correct

copy of the ’929 Patent is included as Exhibit B.

       29.     On information and belief, Verizon Wireless has offered for sale, sold

and/or imported into the United States Verizon Wireless products and services that infringe

the ’929 patent, and continues to do so. By way of illustrative example, these infringing

products and services include, without limitation, Verizon Wireless smartphones using the

Verizon Cloud application, including the Palm device, and all versions and variations

thereof since the issuance (“Accused Instrumentalities”).

       30.     On information and belief, Verizon Wireless has directly infringed and

continues to infringe the ’929 Patent, for example, by making, selling, offering for sale,

and/or importing the Accused Instrumentalities, and through its own use and testing of the
Accused Instrumentalities, which constitute the communication system of Claim 1 of

the ’929 Patent comprising: a first apparatus having a first storage medium, and a second

apparatus, said second apparatus comprising: a second storage medium configured to store

management information of data to be transferred to said first storage medium, a

communicator configured to communicate data with said first apparatus, a detector

configured to detect whether said first apparatus and said second apparatus are connected,

an editor configured to select certain data to be transferred and to edit said management

information based on said selection without regard to the connection of said first apparatus,
and a controller configured to control transfer of the selected data stored in said second


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apparatus via said communicator based on said management information edited by said

editor when said detector detects that said first apparatus and said second apparatus are

connected, wherein said controller is configured to compare said management information

edited by said editor with management information of data stored in said first storage

medium and to transmit data in said second apparatus based on the results of the

comparison.     Upon information and belief, Verizon Wireless uses the Accused

Instrumentalities, which are infringing systems, for its own internal non-testing business

purposes, while testing the Accused Instrumentalities, and while providing technical

support and repair services for the Accused Instrumentalities to Verizon Wireless’s

customers.
      31.       On information and belief, Verizon Wireless has had knowledge of

the ’929 Patent since at least the filing of the original Complaint in this action, or shortly

thereafter, and on information and belief, Verizon Wireless knew of the ’929 Patent and

knew of its infringement, including by way of this lawsuit. By the time of trial, Verizon

Wireless will have known and intended (since receiving such notice) that its continued

actions would actively induce and contribute to the infringement of the claims of the ‘929

Patent.

          32.   On information and belief, use of the Accused Instrumentalities in their

ordinary and customary fashion results in infringement of the claims of the ‘929 Patent.

          33.   Verizon Wireless’s affirmative acts of making, using, selling, offering for

sale, and/or importing the Accused Instrumentalities have induced and continue to induce

users of the Accused Instrumentalities to use the Accused Instrumentalities in their normal

and customary way to infringe Claim 1 of the ’929 Patent, knowing that when the Accused

Instrumentalities are used in their ordinary and customary manner such systems constitute

infringing communication systems comprising: a first apparatus having a first storage


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medium, and a second apparatus, said second apparatus comprising: a second storage

medium configured to store management information of data to be transferred to said first

storage medium, a communicator configured to communicate data with said first apparatus,

a detector configured to detect whether said first apparatus and said second apparatus are

connected, an editor configured to select certain data to be transferred and to edit said

management information based on said selection without regard to the connection of said

first apparatus, and a controller configured to control transfer of the selected data stored in

said second apparatus via said communicator based on said management information

edited by said editor when said detector detects that said first apparatus and said second

apparatus are connected, wherein said controller is configured to compare said

management information edited by said editor with management information of data stored

in said first storage medium and to transmit data in said second apparatus based on the

results of the comparison. For example, Verizon Wireless explains to customers the

benefits of using the Accused Instrumentalities, such as by touting their advantages of

communicating and sharing data among multiple devices: “Backup and sync automatically.

Keep your important stuff saved and up to date. With Verizon Cloud, your daily changes

are     automatically       protected      on        our   secure      servers.”           See

https://www.verizonwireless.com/solutions-and-services/verizon-cloud/.          For    similar

reasons, Verizon Wireless also induces its customers to use the Accused Instrumentalities

to infringe other claims of the ’929 Patent. Verizon Wireless specifically intended and was

aware that the normal and customary use of the Accused Instrumentalities on compatible

systems would infringe the ’929 Patent.          Verizon Wireless performed the acts that

constitute induced infringement, and would induce actual infringement, with the




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knowledge of the ’929 Patent and with the knowledge, or willful blindness to the

probability, that the induced acts would constitute infringement. On information and belief,

Verizon Wireless engaged in such inducement to promote the sales of the Accused

Instrumentalities, e.g., through Verizon Wireless’s user manuals, product support,

marketing materials, demonstrations, installation support, and training materials to actively

induce the users of the accused products to infringe the ’929 Patent. Accordingly, Verizon

Wireless has induced and continues to induce end users of the accused products to use the

accused products in their ordinary and customary way with compatible systems to make

and/or use systems infringing the ’929 Patent, knowing that such use of the Accused

Instrumentalities with compatible systems will result in infringement of the ’929 Patent.

Accordingly, Verizon Wireless has been (since at least as of filing of the original

complaint), and currently is, inducing infringement of the ‘929 Patent, in violation of 35

U.S.C. § 271(b).

       34.      Verizon Wireless        also indirectly infringes the ’929 Patent by

manufacturing, using, selling, offering for sale, and/or importing the accused products,

with knowledge that the accused products were and are especially manufactured and/or

especially adapted for use in infringing the ’929 Patent and are not a staple article or

commodity of commerce suitable for substantial non-infringing use. On information and

belief, the Accused Instrumentality is designed to be used as an infringing communication

systems comprising: a first apparatus having a first storage medium, and a second apparatus,

said second apparatus comprising: a second storage medium configured to store

management information of data to be transferred to said first storage medium, a

communicator configured to communicate data with said first apparatus, a detector




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configured to detect whether said first apparatus and said second apparatus are connected,

an editor configured to select certain data to be transferred and to edit said management

information based on said selection without regard to the connection of said first apparatus,

and a controller configured to control transfer of the selected data stored in said second

apparatus via said communicator based on said management information edited by said

editor when said detector detects that said first apparatus and said second apparatus are

connected, wherein said controller is configured to compare said management information

edited by said editor with management information of data stored in said first storage

medium and to transmit data in said second apparatus based on the results of the

comparison. Because the Accused Instrumentality is designed to operate as the claimed

system for communication, the Accused Instrumentality has no substantial non-infringing

uses, and any other uses would be unusual, far-fetched, illusory, impractical, occasional,

aberrant, or experimental. Verizon Wireless’s manufacture, use, sale, offering for sale,

and/or importation of the Accused Instrumentality constitutes contributory infringement of

the ’929 Patent. Accordingly, Verizon Wireless has been, and currently is, contributorily

infringing the ‘929 patent, in violation of 35 U.S.C. § 271(c).

       35.      The Accused Instrumentalities include a system for communicating data.

For example, the Accused Instrumentalities include “[a] communication system including

a first apparatus having a first storage medium, and a second apparatus.” As an example,

the Palm device as sold by Verizon includes the Verizon Cloud Application:




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As an example, the Verizon Cloud application allows users to communicate, backup and

sync data from the Palm device on Verizon Cloud servers, which include a storage

medium:




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https://www.verizonwireless.com/solutions-and-services/verizon-cloud/

The Verizon Cloud server is an example of a first apparatus. The Palm device is an

example of a second apparatus.


       36.      The Accused Instrumentalities include “said second apparatus comprising:

a second storage medium configured to store management information of data to be

transferred to said first storage medium.” As an example, the Palm device includes

gigabytes of storage:




See also https://www.palm.com/product:




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As an example, and as shown from the below photos, a Palm device using Verizon Cloud

can manage the transfer of various kinds data stored in the device (e.g. contacts, photos,

videos, music, and documents) to the Verizon Cloud servers:




       37.     The Accused Instrumentalities further include a second apparatus

comprising “a communicator configured to communicate with said first apparatus.” For

example, the Palm device using the Verizon Cloud application is designed to communicate

data with the Verizon Cloud servers over both cellular and WiFi networks:




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See also https://www.verizonwireless.com/support/verizon-cloud-faqs/:




       38.     The Accused Instrumentalities further include a second apparatus

comprising “a detector configured to detect whether said first apparatus and a second

apparatus                                are                                connected.”

For example, the Palm device can determine whether or not it is connected to the Verizon

Cloud server over a cellular or WiFi Network:




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         39.   The Accused Instrumentalities further include a second apparatus

comprising “an editor configured to select certain data to be transferred and to edit said

management information based on said selection without regard to the connection of said

first apparatus.” For example, the Palm device is configured to allow a user to select the

data to be backed up and synced with the Verizon Cloud server even when the user is not

connected to a cellular or WiFi network or the Verizon Cloud server (e.g. in Airplane

Mode):




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       40.      The Accused Instrumentalities further include a second apparatus

comprising “a controller configured to control transfer of the selected data stored in said

second apparatus to said first apparatus via said communicator based on said management

information edited by said editor when said detector detects that said first apparatus and

said second apparatus are connected.” For example, when the Palm device is connected to

the Verizon Cloud servers over a cellular and/or WiFi network, it will transfer the data

stored in the applications selected by the user to the Verizon Cloud servers:




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https://www.verizonwireless.com/support/verizon-cloud-faqs/




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https://www.verizonwireless.com/solutions-and-services/verizon-cloud/

       41.     The Accused Instrumentalities further include a second apparatus wherein

said controller “is configured to compare said management information edited by said

editor with management information of data stored in said first storage medium and to

transmit data in said second apparatus based on result of the comparison.” For example,

the Palm device using the Verizon Cloud application is configured to compare the data

already transmitted to the Verizon Cloud server with the data present in the Palm device

that the user selected to be backed up and transmit new or changed data from the Palm

device to the Verizon cloud server (e.g. a new photo that was not previously saved on the

Verizon Cloud server).




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https://www.verizonwireless.com/support/verizon-cloud-faqs/

As further example, upon taking a new photo with the Palm device, the Palm device will

compare the photo with those already backed up on the Verizon Cloud server and inform

the user that there is data that has not yet been backed up:




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As an additional example, certain information (e.g. contacts, text and multimedia

messages) selected for syncing when deleted by the user, will also be deleted from the

Verizon Cloud server during the next back up or sync:




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https://www.verizonwireless.com/support/verizon-cloud-faqs/

          42.   Verizon Wireless also infringes other claims of the ’929 Patent, directly

and through inducing infringement and contributory infringement.

          43.   On information and belief, use of the Accused Instrumentalities in their

ordinary and customary fashion results in infringement of the methods claimed by the ’929

Patent.

          44.   By making, using, offering for sale, selling and/or importing into the

United States the Accused Instrumentalities, and touting the benefits of using the Accused

Instrumentalities’ data communication features, Verizon Wireless has injured Data Scape

and is liable to Data Scape for infringement of the ’929 Patent pursuant to 35 U.S.C. § 271.

          45.   As a result of Verizon Wireless’s infringement of the ’929 Patent, Plaintiff

Data Scape is entitled to monetary damages in an amount adequate to compensate for



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Verizon Wireless’s infringement, but in no event less than a reasonable royalty for the use

made of the invention by Verizon Wireless, together with interest and costs as fixed by the

Court.

                                        COUNT III

                    INFRINGEMENT OF U.S. PATENT NO. 7,617,537

               (Against Verizon Communications and Cellco Partnership collectively

                                   “Verizon Wireless”)

         46.      Data Scape is the owner by assignment of United States Patent No.
7,617,537 (“the ’537 Patent”), entitled “Communication System And Its Method and

Communication Apparatus And Its Method.” The ’537 Patent was duly and legally issued

by the United States Patent and Trademark Office on November 10, 2009. A true and

correct copy of the ’537 Patent is included as Exhibit C.

         47.      On information and belief, Verizon Wireless has offered for sale, sold

and/or imported into the United States Verizon Wireless products and services that infringe

the ’537 patent, and continues to do so. By way of illustrative example, these infringing

products and services include, without limitation, Verizon Wireless smartphones using the

Verizon Cloud application, including the Palm device, and all versions and variations

thereof since the issuance (“Accused Instrumentalities”).

         48.      On information and belief, Verizon Wireless has directly infringed and
continues to infringe the ’537 Patent, for example, by making, selling, offering for sale,

and/or importing the Accused Instrumentalities, and through its own use and testing of the

Accused Instrumentalities, which perform the communication method to transfer content

data to a first apparatus from a second apparatus claimed by Claim 1 of the ’537 Patent

comprising: judging whether said first apparatus and said second apparatus are connected,

comparing, upon judging that said first apparatus and said second apparatus are connected,
an identifier of said first apparatus with an identifier stored in said second apparatus,



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comparing, when said identifier of said first apparatus corresponds to said identified stored

in said second apparatus, a first list of content data of said second apparatus; transferring,

from the second apparatus to the first apparatus, first content data, which is registered in

said second list and is not registered in said first list; and deleting, from the first apparatus,

second content data which is registered in said first list and is not registered in said second

list. Upon information and belief, Verizon Wireless uses the Accused Instrumentalities,

which perform the infringing method, for its own internal non-testing business purposes,

while testing the Accused Instrumentalities, and while providing technical support and

repair services for the Accused Instrumentalities to Verizon Wireless’s customers.

        49.     On information and belief, Verizon Wireless has had knowledge of the ’537

Patent since at least the filing of the original Complaint in this action, or shortly thereafter,

and on information and belief, Verizon Wireless knew of the ’537 Patent and knew of its

infringement, including by way of this lawsuit. By the time of trial, Verizon Wireless will

have known and intended (since receiving such notice) that their continued actions would

actively induce and contribute to the infringement of the claims of the ‘537 Patent.

        50.     On information and belief, use of the Accused Instrumentalities in their

ordinary and customary fashion results in infringement of the claims of the ‘537 Patent.

        51.     Verizon Wireless’s affirmative acts of making, using, selling, offering for
sale, and/or importing the Accused Instrumentalities have induced and continue to induce

users of the Accused Instrumentalities to use the Accused Instrumentalities in their normal

and customary way to perform methods that infringe Claim 1 of the ’537 Patent, knowing

that when the Accused Instrumentalities are used in their ordinary and customary manner

such systems performing infringing communication methods to transfer content data to a

first apparatus from a second apparatus, comprising: judging whether said first apparatus

and said second apparatus are connected, comparing, upon judging that said first apparatus

and said second apparatus are connected, an identifier of said first apparatus with an
identifier stored in said second apparatus, comparing, when said identifier of said first


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apparatus corresponds to said identified stored in said second apparatus, a first list of

content data of said second apparatus; transferring, from the second apparatus to the first

apparatus, first content data, which is registered in said second list and is not registered in

said first list; and deleting, from the first apparatus, second content data which is registered

in said first list and is not registered in said second list. For example, Verizon Wireless

explains to customers the benefits of using the Accused Instrumentalities, such as by

touting their advantages of communicating and sharing data among multiple devices:

“Backup and sync automatically. Keep your important stuff saved and up to date. With

Verizon Cloud, your daily changes are automatically protected on our secure servers.” See

https://www.verizonwireless.com/solutions-and-services/verizon-cloud/.           For    similar

reasons, Verizon Wireless also induces its customers to use the Accused Instrumentalities

to infringe other claims of the ’537 Patent. Verizon Wireless specifically intended and was

aware that the normal and customary use of the Accused Instrumentalities would infringe

the ’ 537 Patent. Verizon Wireless performed the acts that constitute induced infringement,

and would induce actual infringement, with the knowledge of the ’537 Patent and with the

knowledge, or willful blindness to the probability, that the induced acts would constitute

infringement. On information and belief, Verizon Wireless engaged in such inducement

to promote the sales of the Accused Instrumentalities, e.g., through Verizon Wireless’s user
manuals, product support, marketing materials, demonstrations, installation support, and

training materials to actively induce the users of the accused products to infringe the ’537

Patent. Accordingly, Verizon Wireless as induced and continues to induce end users of the

accused products to use the accused products in their ordinary and customary way with

compatible systems to make and/or use systems infringing the ’537 Patent, knowing that

such use of the Accused Instrumentalities with compatible systems will result in

infringement of the ’537 Patent. Accordingly, Verizon Wireless has been (since at least as

of filing of the original complaint), and currently is, inducing infringement of the ‘537
Patent, in violation of 35 U.S.C. § 271(b).


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        52.     Verizon Wireless        also indirectly infringes the ’537 Patent by

manufacturing, using, selling, offering for sale, and/or importing the accused products,

with knowledge that the accused products were and are especially manufactured and/or

especially adapted for use in infringing the ’537 Patent and are not a staple article or

commodity of commerce suitable for substantial non-infringing use. On information and

belief, the Accused Instrumentality is designed to perform infringing communication

methods to transfer content data to a first apparatus from a second apparatus, comprising:

judging whether said first apparatus and said second apparatus are connected, comparing,

upon judging that said first apparatus and said second apparatus are connected, an identifier

of said first apparatus with an identifier stored in said second apparatus, comparing, when

said identifier of said first apparatus corresponds to said identified stored in said second

apparatus, a first list of content data of said second apparatus; transferring, from the second

apparatus to the first apparatus, first content data, which is registered in said second list

and is not registered in said first list; and deleting, from the first apparatus, second content

data which is registered in said first list and is not registered in said second list. Because

the Accused Instrumentality is designed to perform the claimed method for

communication, the Accused Instrumentality has no substantial non-infringing uses, and

any other uses would be unusual, far-fetched, illusory, impractical, occasional, aberrant, or

experimental.    Verizon Wireless’s manufacture, use, sale, offering for sale, and/or

importation of the Accused Instrumentality constitutes contributory infringement of the

’537 Patent. Accordingly, Verizon Wireless has been, and currently is, contributorily

infringing the ‘537 patent, in violation of 35 U.S.C. § 271(c).




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       53.    The Accused Instrumentalities perform a communication method to transfer

content data from a first apparatus to a second apparatus. As an example, the Palm device

as sold by Verizon includes the Verizon Cloud Application:




As an example, the Verizon Cloud application allows users to transfer data from the Palm

device to Verizon Cloud servers:




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https://www.verizonwireless.com/solutions-and-services/verizon-cloud/

The Palm device is an example of a first apparatus. The Verizon Cloud server is an

example of a second apparatus.


       54.     The Accused Instrumentalities perform a communication method to transfer

content data from a first apparatus to a second apparatus further comprising judging

whether said first apparatus and said second apparatus are connected. For example, a Palm

device using the Verizon Cloud application can detect whether or not it is detected to a

connected to the Verizon Cloud server via a cellular and/or WiFi network:




       55.     The Accused Instrumentalities perform a communication method to transfer

content data from a first apparatus to a second apparatus further comprising comparing,

upon judging that said first apparatus and said second apparatus are connected, an identifier

of said first apparatus with an identifier stored in said second apparatus. For example, the




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Palm device is identified as the “Tablet” “Palm PVG100,” when the device is connected to

the Verizon Cloud server:




In the alternative, where the Verizon Cloud server is an example of a first apparatus and

the Palm device is an example of the second apparatus, an example of the identifier is the

unique mobile number and email address associated with each Verizon Cloud account and

which identifies the content stored in the Verizon Cloud servers:




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https://www.verizonwireless.com/support/verizon-cloud-faqs/




        56.     The Accused Instrumentalities perform a communication method to transfer

content data from a first apparatus to a second apparatus further comprising comparing,

when said identifier of said first apparatus corresponds to said identifier stored in second

apparatus, a first list of content data of said first apparatus and a second list of content data

of said second apparatus. For example, when Palm device and the Verizon Cloud servers

are connected, a list of data and applications selected by the user to be backed up and

synced with the Verizon Cloud drive will be compared to the data stored in the Verizon

Cloud servers to ascertain if the lists contain the same data (e.g. a new photo that was not

previously saved on the Verizon Cloud servers).




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https://www.verizonwireless.com/support/verizon-cloud-faqs/




For example, if the user has selected Photos to be backed up and if the Palm device
determines that a photo has been taken that has not been backed up or synced with the


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Verizon Cloud server, the Palm device will inform the user that there is data that has not

yet been backed up:




       57.     The Accused Instrumentalities perform a communication method to transfer

content data from a first apparatus to a second apparatus further comprising transferring,

from the second apparatus to the first apparatus, first content data, which is registered in

said second list and is not registered in said first list. For example, when Palm device and

the Verizon Cloud servers are connected, a list of data and applications selected by the user

to be backed up and synced with the Verizon Cloud drive will be compared to the data

stored in the Verizon Cloud servers to ascertain if the lists contain the same data (e.g. a

new photo that was not previously saved on the Verizon Cloud servers). If it is found that

there is data in the list selected by the user that is not present in the Verizon Cloud server

that new data will be transferred:




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https://www.verizonwireless.com/support/verizon-cloud-faqs/
For example, if the user has selected Photos to be backed up and if the Palm device

determines that a photo has been taken that has not been backed up or synced with the

Verizon Cloud server, the Palm device will inform the user that there is data that has not

yet been backed up, and will transfer only that photo upon performing a back up (e.g. the

photo will be transferred to Verizon Cloud during the next back up or upon the “Back Up

Now” button being selected).




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       58.     The Accused Instrumentalities perform a communication method to transfer

content data from a first apparatus to a second apparatus further comprising deleting, from

the first apparatus, second content data, which registered in said first list and is not

registered in the second list. As an additional example, when a user has selected contacts,

text and multimedia messages selected for syncing, and deletes data associated with those

lists, the accompanying data will also be deleted from the Verizon Cloud server during the

next back up or sync:




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https://www.verizonwireless.com/support/verizon-cloud-faqs/

          59.   Verizon Wireless also infringes other claims of the ’537 Patent, directly and

through inducing infringement and contributory infringement.

          60.   On information and belief, use of the Accused Instrumentalities in their

ordinary and customary fashion results in infringement of the methods claimed by the ’537

Patent.

          61.   By making, using, offering for sale, selling and/or importing into the United

States the Accused Instrumentalities, and touting the benefits of using the Accused

Instrumentalities’ data communication features, Verizon Wireless has injured Data Scape

and is liable to Data Scape for infringement of the ’537 Patent pursuant to 35 U.S.C. § 271

          62.   As a result of Defendant’s infringement of the ’537 Patent, Plaintiff Data
Scape is entitled to monetary damages in an amount adequate to compensate for each



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Defendant’s infringement, but in no event less than a reasonable royalty for the use made

of the invention by each Defendant, together with interest and costs as fixed by the Court.

                                       COUNT IV

                 INFRINGEMENT OF U.S. PATENT NO. 9,715,893

  (Against Verizon Communications and Cellco Partnership collectively “Verizon

                                        Wireless”)

       63.     Data Scape is the owner by assignment of United States Patent No.

9,715,893 (“the ’893 Patent”), entitled “Recording Apparatus, Server Apparatus,

Recording Method, Program and Storage Medium.” The ’893 Patent was duly and legally

issued by the United States Patent and Trademark Office on July 25, 2017. A true and

correct copy of the ’893 Patent is included as Exhibit D.

       64.     Verizon Wireless has offered for sale, sold and/or imported into the United

States products and services that infringe the ’893 patent, and continues to do so. By way

of illustrative example, these infringing products and services include, without limitation,

Verizon Wireless smartphones using the Verizon Cloud application, including the Palm

device, and all versions and variations thereof since the issuance of the ‘893 patent

(“Accused Instrumentalities”).

       65.     Each defendant has directly infringed and continues to infringe the ’893
Patent, for example, by making, selling, offering for sale, and/or importing the Accused

Instrumentalities, and through its own use and testing of the Accused Instrumentalities.

Verizon Wireless uses the Accused Instrumentalities for its own internal non-testing

business purposes, while testing the Accused Instrumentalities, and while providing

technical support and repair services for the Accused Instrumentalities to its customers.

       66.     For example, the Accused Instrumentalities infringe Claim 1 (as well as

other claims) of the ’893 Patent. One non-limiting example of the Accused

Instrumentalities’ infringement follows.




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       67.     The Accused Instrumentalities include “[a] non-transitory computer-

readable storage medium storing instructions which, when executed by a computer, cause

the computer to perform a method of an information processing apparatus for transferring

data.” For example, the Accused Instrumentalities include instructions to transfer data

stored on one device (e.g. a Palm Device) to another device (e.g. the Verizon Cloud servers).

For example, the Palm device as sold by Verizon Wireless includes the Verizon Cloud

Application:




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The Palm device with the Verizon Cloud application will transfer data from the Palm

device to the Verizon Cloud servers:




https://www.verizonwireless.com/solutions-and-services/verizon-cloud/
        68.   The Accused Instrumentalities include instructions for “automatically

reading first management data from a first storage medium, the first management data

identifying files of source data stored on the first storage medium.” As an example, the

Palm device includes gigabytes of storage, designed to store various content data (e.g.

contacts, photos, videos, music, and documents).




See also https://www.palm.com/product:




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For example, the Palm device includes a touch screen interface that allows a user to choose

which data stored in the device (e.g. contacts, photos, videos, music, and documents) will

backed up using the Verizon Cloud application:




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https://www.verizonwireless.com/support/verizon-cloud-faqs/
        69.   The Accused Instrumentalities include instructions for “automatically

identifying, by the computer, one of the files of source data based on the first management

data and second management data, the second management data identifying files of

transferred data stored on a second storage medium, the one of the files of source data being

absent from the second storage medium.” For example, when the Palm device is connected

to the Verizon Cloud server it will compare the lists of data stored in the Verizon Cloud

server with the lists of data selected by the user in the Palm device to determine if any data

needs to be backed up:




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https://www.verizonwireless.com/support/verizon-cloud-faqs/

For example, if the user has selected Photos to be backed up and if the Palm device

determines that a photo has been taken that has not been backed up or synced with the

Verizon Cloud server, the Palm device will inform the user that there is data that has not

yet been backed up, and will transfer only that photo upon performing a back up (e.g. the

photo will be transferred to Verizon Cloud during the next back up or upon the “Back Up
Now” button being selected):




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The Accused Instrumentalities include instructions for “automatically transferring the one

of the files of source data to the second storage medium, the one of the files of source

data being transferred becoming one of the files of transferred data.” For example, if the

user has selected Photos to be backed up and if the Palm device determines that a photo

has been taken that has not been backed up or synced with the Verizon Cloud server, the

Palm device will automatically transfer the photo during the next scheduled backup:




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       70.     The Accused Instrumentalities include instructions for “automatically

displaying transferring status of the one of the files of source data by a symbolic figure.”

For example, during the back up process, the Verizon Cloud application as used on an

iPhone will display a picture of the photo being backed up and the status of the transfer:




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       71.     Verizon Wireless has had knowledge of the ’893 Patent and its infringement

since at least the filing of the original Complaint in this action, or shortly thereafter,

including by way of this lawsuit. By the time of trial Verizon Wireless will have known

and intended (since receiving such notice) that its continued actions would actively induce

and contribute to the infringement of the claims of the ’893 Patent.

       72.     Verizon Wireless’s affirmative acts of making, using, selling, offering for

sale, and/or importing the Accused Instrumentalities have induced and continue to induce

users of the Accused Instrumentalities to use the Accused Instrumentalities in their normal

and customary way to infringe the claims of the ’893 Patent. Use of the Accused

Instrumentalities in their ordinary and customary fashion results in infringement of the

claims of the ’893 Patent.




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       73.     For example, Verizon Wireless explains to customers the benefits of using

the Accused Instrumentalities, such as by touting their advantages of replicating data

among multiple devices. Each defendant also induces its customers to use the Accused

Instrumentalities to infringe other claims of the ’893 Patent. Verizon Wireless specifically

intended and was aware that the normal and customary use of the Accused Instrumentalities

on compatible systems would infringe the ’893 Patent. Verizon Wireless performed the

acts that constitute induced infringement, and would induce actual infringement, with the

knowledge of the ’893 Patent and with the knowledge, or willful blindness to the

probability, that the induced acts would constitute infringement. On information and belief,

Verizon Wireless engaged in such inducement to promote the sales of the Accused

Instrumentalities, e.g., through its user manuals, product support, marketing materials,

demonstrations, installation support, and training materials to actively induce the users of

the accused products to infringe the ’893 Patent. Accordingly, Verizon Wireless has

induced and continues to induce end users of the accused products to use the accused

products in their ordinary and customary way with compatible systems to make and/or use

systems infringing the ’893 Patent, knowing that such use of the Accused Instrumentalities

with compatible systems will result in infringement of the ’893 Patent. Accordingly, each

defendant has been (since at least as of filing of the original complaint), and currently is,
inducing infringement of the ’893 Patent, in violation of 35 U.S.C. § 271(b).

       74.     Each defendant has also infringed, and continues to infringe, claims of the

’893 Patent by offering to commercially distribute, commercially distributing, making,

and/or importing the Accused Instrumentalities, which are used in practicing the process,

or using the systems, of the ’893 Patent, and constitute a material part of the invention.

Defendant knows the components in the Accused Instrumentalities to be especially made

or especially adapted for use in infringement of the ’893 Patent, not a staple article, and

not a commodity of commerce suitable for substantial noninfringing use. For example, the
ordinary way of using the Accused Instrumentalities infringes the patent claims, and as


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such, is especially adapted for use in infringement. Accordingly, each defendant has been,

and currently is, contributorily infringing the ’893 Patent, in violation of 35 U.S.C. § 271(c).

       75.     For similar reasons, Verizon Wireless also infringes the ’893 Patent by

supplying or causing to be supplied in or from the United States all or a substantial portion

of the components of the Accused Instrumentalities, where such components are

uncombined in whole or in part, in such manner as to actively induce the combination of

such components outside of the United States in a manner that would infringe the ’893

Patent if such combination occurred within the United States. For example, Verizon

Wireless supplies or causes to be supplied in or from the United States all or a substantial

portion of the hardware (e.g., the Palm Device or other smartphone) and software (e.g., the

Verizon Cloud application) components of the Accused Instrumentalities in such a manner

as to actively induce the combination of such components outside of the United States.

       76.     Verizon Wireless also indirectly infringes the ’893 Patent by supplying or

causing to be supplied in or from the United States components of the Accused

Instrumentalities that are especially made or especially adapted for use in infringing the

’893 Patent and are not a staple article or commodity of commerce suitable for substantial

non-infringing use, and where such components are uncombined in whole or in part,

knowing that such components are so made or adapted and intending that such components
are combined outside of the United States in a manner that would infringe the ’893 Patent

if such combination occurred within the United States. Because the Accused

Instrumentalities are designed to operate as the claimed system and apparatus, the Accused

Instrumentalities have no substantial non-infringing uses, and any other uses would be

unusual, far-fetched, illusory, impractical, occasional, aberrant, or experimental. For

example, each defendant supplies or causes to be supplied in or from the United States all

or a substantial portion of the hardware (e.g., the Palm Device or other smartphone) and

software (e.g., the Verizon Cloud application) components that are especially made or
especially adapted for use in the Accused Instrumentalities, where such hardware and


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software components are not staple articles or commodities of commerce suitable for

substantial noninfringing use, knowing that such components are so made or adapted and

intending that such components are combined outside of the United States, as evidenced

by each defendant’s own actions or instructions to users in, e.g., combining multiple Data

Domain servers into infringing systems, and enabling and configuring the infringing

functionalities of the Accused Instrumentalities.

          77.     Verizon Wireless also infringes other claims of the ’893 Patent, directly and

through inducing infringement and contributory infringement.

          78.     On information and belief, use of the Accused Instrumentalities in their

ordinary and customary fashion results in infringement of the methods claimed by the ’893

Patent.
          79.     By making, using, offering for sale, selling and/or importing into the United

States the Accused Instrumentalities, and touting the benefits of using the Accused

Instrumentalities’ data communication features, Verizon Wireless has injured Data Scape

and is liable to Data Scape for infringement of the ’893 Patent pursuant to 35 U.S.C. § 271.

          80.     As a result of Defendant’s infringement of the ’893 Patent, Plaintiff Data

Scape is entitled to monetary damages in an amount adequate to compensate for each

Defendant’s infringement, but in no event less than a reasonable royalty for the use made

of the invention by each Defendant, together with interest and costs as fixed by the Court.

                                          COUNT V

                    INFRINGEMENT OF U.S. PATENT NO. 7,617,537

                (Against Verizon Communications and Verizon Connect collectively

                                     “Verizon Connect”)

          81.     Data Scape is the owner by assignment of United States Patent No.
7,617,537 (“the ’537 Patent”), entitled “Communication System And Its Method and



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Communication Apparatus And Its Method.” The ’537 Patent was duly and legally issued

by the United States Patent and Trademark Office on November 10, 2009. A true and

correct copy of the ’537 Patent is included as Exhibit C.

        82.     On information and belief, Verizon Connect has offered for sale, sold and/or

imported into the United States Verizon Connect products and services that infringe

the ’537 patent, and continues to do so. By way of illustrative example, these infringing

products and services include, without limitation, the Verizon Connect “Work” software

and service, the “Fleetmatics Work” software and service, and the Work Mobile

application, and all versions and variations thereof since the issuance of the ‘537 patent

(“Accused Instrumentalities”).

        83.     On information and belief, Verizon Connect has directly infringed and

continues to infringe the ’537 Patent, for example, by making, selling, offering for sale,

and/or importing the Accused Instrumentalities, and through its own use and testing of the

Accused Instrumentalities, which perform the communication method to transfer content

data to a first apparatus from a second apparatus claimed by Claim 1 of the ’537 Patent

comprising: judging whether said first apparatus and said second apparatus are connected,

comparing, upon judging that said first apparatus and said second apparatus are connected,

an identifier of said first apparatus with an identifier stored in said second apparatus,
comparing, when said identifier of said first apparatus corresponds to said identified stored

in said second apparatus, a first list of content data of said second apparatus; transferring,

from the second apparatus to the first apparatus, first content data, which is registered in

said second list and is not registered in said first list; and deleting, from the first apparatus,

second content data which is registered in said first list and is not registered in said second

list. Upon information and belief, Verizon Connect uses the Accused Instrumentalities,

which perform the infringing method, for its own internal non-testing business purposes,

while testing the Accused Instrumentalities, and while providing technical support and
repair services for the Accused Instrumentalities to Verizon Connect’s customers.


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        84.     On information and belief, Verizon Connect has had knowledge of the ’537

Patent since at least the filing of the original Complaint in this action, or shortly thereafter,

and on information and belief, Verizon Connect knew of the ’537 Patent and knew of its

infringement, including by way of this lawsuit. By the time of trial, Verizon Connect will

have known and intended (since receiving such notice) that their continued actions would

actively induce and contribute to the infringement of the claims of the ‘537 Patent.

        85.     On information and belief, use of the Accused Instrumentalities in their

ordinary and customary fashion results in infringement of the claims of the ‘537 Patent.

        86.     Verizon Connect’s affirmative acts of making, using, selling, offering for

sale, and/or importing the Accused Instrumentalities have induced and continue to induce

users of the Accused Instrumentalities to use the Accused Instrumentalities in their normal

and customary way to perform methods that infringe Claim 1 of the ’537 Patent, knowing

that when the Accused Instrumentalities are used in their ordinary and customary manner

such systems performing infringing communication methods to transfer content data to a

first apparatus from a second apparatus, comprising: judging whether said first apparatus

and said second apparatus are connected, comparing, upon judging that said first apparatus

and said second apparatus are connected, an identifier of said first apparatus with an

identifier stored in said second apparatus, comparing, when said identifier of said first
apparatus corresponds to said identified stored in said second apparatus, a first list of

content data of said second apparatus; transferring, from the second apparatus to the first

apparatus, first content data, which is registered in said second list and is not registered in

said first list; and deleting, from the first apparatus, second content data which is registered

in said first list and is not registered in said second list. For example, Verizon Connect

explains to customers the benefits of using the Accused Instrumentalities, such as by

touting their advantages of communicating and sharing data among multiple devices:

“Automatically Work Offline. Job information is automatically saved when a Fieldworkers
has lost Photos, notes and more get synced when they’re back online.”


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https://support.work.fleetmatics.com/hc/en-us/articles/360000236706-What-is-the-

difference-between-Work-Classic-App-and-Work-Mobile-App-. For similar reasons,

Verizon Connect also induces its customers to use the Accused Instrumentalities to infringe

other claims of the ’537 Patent. Verizon Connect specifically intended and was aware that

the normal and customary use of the Accused Instrumentalities would infringe the ’ 537

Patent. Verizon Connect performed the acts that constitute induced infringement, and

would induce actual infringement, with the knowledge of the ’537 Patent and with the

knowledge, or willful blindness to the probability, that the induced acts would constitute

infringement. On information and belief, Verizon Connect engaged in such inducement to

promote the sales of the Accused Instrumentalities, e.g., through Verizon Connect’s user

manuals, product support, marketing materials, demonstrations, installation support, and

training materials to actively induce the users of the accused products to infringe the ’537

Patent. Accordingly, Verizon Connect has induced and continues to induce end users of

the accused products to use the accused products in their ordinary and customary way with

compatible systems to make and/or use systems infringing the ’537 Patent, knowing that

such use of the Accused Instrumentalities with compatible systems will result in

infringement of the ’537 Patent. Accordingly, Verizon Connect has been (since at least as

of filing of the original complaint), and currently is, inducing infringement of the ‘537
Patent, in violation of 35 U.S.C. § 271(b).

       87.     Verizon Connect        also indirectly infringes the ’537 Patent by

manufacturing, using, selling, offering for sale, and/or importing the accused products,

with knowledge that the accused products were and are especially manufactured and/or

especially adapted for use in infringing the ’537 Patent and are not a staple article or

commodity of commerce suitable for substantial non-infringing use. On information and

belief, the Accused Instrumentality is designed to perform infringing communication

methods to transfer content data to a first apparatus from a second apparatus, comprising:
judging whether said first apparatus and said second apparatus are connected, comparing,


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upon judging that said first apparatus and said second apparatus are connected, an identifier

of said first apparatus with an identifier stored in said second apparatus, comparing, when

said identifier of said first apparatus corresponds to said identified stored in said second

apparatus, a first list of content data of said second apparatus; transferring, from the second

apparatus to the first apparatus, first content data, which is registered in said second list

and is not registered in said first list; and deleting, from the first apparatus, second content

data which is registered in said first list and is not registered in said second list. Because

the Accused Instrumentality is designed to perform the claimed method for

communication, the Accused Instrumentality has no substantial non-infringing uses, and

any other uses would be unusual, far-fetched, illusory, impractical, occasional, aberrant, or

experimental.    Verizon Connect’s manufacture, use, sale, offering for sale, and/or

importation of the Accused Instrumentality constitutes contributory infringement of the

’537 Patent. Accordingly, Verizon Connect has been, and currently is, contributorily

infringing the ‘537 patent, in violation of 35 U.S.C. § 271(c).
        88.     The Accused Instrumentalities perform a communication method to transfer

content data from a first apparatus to a second apparatus. As an example, the Work Mobile

application is designed to transfer data from a smartphone or table to the Verizon Connect

Work Servers:




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https://support.work.fleetmatics.com/hc/en-us/articles/360001075006-How-do-I-

download-the-Work-Mobile-App-




https://support.work.fleetmatics.com/hc/en-us/articles/360000245066-What-can-

fieldworkers-do-in-offline-mode-


       89.    The Accused Instrumentalities perform a communication method to transfer

content data from a first apparatus to a second apparatus further comprising judging

whether said first apparatus and said second apparatus are connected. For example, the

Work Mobile application will determine whether it is connected to the Work Admin, or

Work servers, and sync data automatically when connected:




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https://support.work.fleetmatics.com/hc/en-us/articles/360000245066-What-can-

fieldworkers-do-in-offline-mode-



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       90.     The Accused Instrumentalities perform a communication method to transfer

content data from a first apparatus to a second apparatus further comprising comparing,

upon judging that said first apparatus and said second apparatus are connected, an identifier

of said first apparatus with an identifier stored in said second apparatus. For example, every

Fieldworker has a “Fieldworker Profile,” or identifier, which is created by Work Admin

and stored in the Verizon Connect servers:




https://support.work.fleetmatics.com/hc/en-us/articles/360000798383-How-do-I-create-a-

fieldworker-




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https://support.work.fleetmatics.com/hc/en-us/articles/360000798383-How-do-I-create-a-

fieldworker-

The Fieldworker can access the Fieldworker profile, by entering a username and password

into the Work Mobile application:




https://support.work.fleetmatics.com/hc/en-us/articles/360001148723-New-Work-

Mobile-App-Webinar




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        91.     The Accused Instrumentalities perform a communication method to transfer

content data from a first apparatus to a second apparatus further comprising comparing,

when said identifier of said first apparatus corresponds to said identifier stored in second

apparatus, a first list of content data of said first apparatus and a second list of content data

of said second apparatus. For example, when the device running the Work Mobile

application is connected to the Verizon Work servers / Work Admin, data input by the

worker will be transferred and synced with data stored in the Verizon Work servers. Such

lists of data include: time on the job, Job Start/ Finish Questions, Job Custom Fields, Client

Custom Fields, Completion Notes, photos of the job, customer signatures, and billing

items. See https://support.work.fleetmatics.com/hc/en-us/articles/360000245066-What-

can-fieldworkers-do-in-offline-mode-.




https://support.work.fleetmatics.com/hc/en-us/articles/360000245066-What-can-

fieldworkers-do-in-offline-mode-

        92.     The Accused Instrumentalities perform a communication method to transfer

content data from a first apparatus to a second apparatus further comprising transferring,

from the second apparatus to the first apparatus, first content data, which is registered in

said second list and is not registered in said first list. For example, when the device running


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the Work Mobile application is connected to the Verizon Connect Work servers / Work

Admin, determines that job information data input by the worker, has not been transmitted

to Work Admin, will be transferred and synced with data stored in the Verizon Connect

servers / Work Admin, this information will be transferred from the device to the servers..

The information to be transferred includes: time on the job, Job Start/ Finish Questions,

Job Custom Fields, Client Custom Fields, Completion Notes, photos of the job, customer

signatures,   and   billing   items.    See        https://support.work.fleetmatics.com/hc/en-

us/articles/360000245066-What-can-fieldworkers-do-in-offline-mode-.




https://support.work.fleetmatics.com/hc/en-us/articles/360000245066-What-can-

fieldworkers-do-in-offline-mode-

       93.     The Accused Instrumentalities perform a communication method to transfer

content data from a first apparatus to a second apparatus further comprising deleting, from

the first apparatus, second content data, which registered in said first list and is not

registered in the second list. For example, the Fieldworker can assign his or her job to

another fieldworker. This will cause the job and all job status entries made by the user to

be removed from the Work Mobile Application:




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https://support.work.fleetmatics.com/hc/en-us/articles/208602076-Lifecycle-of-a-Job-in-
the-App


This will also cause the removal of Job Status entries (e.g. time entries) made by the

Fieldworker from the Verizon Connect servers / Work Admin:




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https://support.work.fleetmatics.com/hc/en-us/articles/208602076-Lifecycle-of-a-Job-in-
the-App


          94.   Verizon Wireless also infringes other claims of the ’537 Patent, directly and

through inducing infringement and contributory infringement.

          95.   On information and belief, use of the Accused Instrumentalities in their

ordinary and customary fashion results in infringement of the methods claimed by the ’537

Patent.

          96.   By making, using, offering for sale, selling and/or importing into the United

States the Accused Instrumentalities, and touting the benefits of using the Accused

Instrumentalities’ data communication features, Verizon Wireless has injured Data Scape

and is liable to Data Scape for infringement of the ’537 Patent pursuant to 35 U.S.C. § 271

          97.   As a result of Defendant’s infringement of the ’537 Patent, Plaintiff Data

Scape is entitled to monetary damages in an amount adequate to compensate for each

Defendant’s infringement, but in no event less than a reasonable royalty for the use made

of the invention by each Defendant, together with interest and costs as fixed by the Court.

                                        COUNT VI

                  INFRINGEMENT OF U.S. PATENT NO. 8,386,581

   (Against Verizon Communications and Verizon Connect collectively “Verizon

                                     Connect”)
          98.   Data Scape is the owner by assignment of United States Patent No.

8,386,581 (“the ’581 Patent”), entitled “Communication System And Its Method and



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Communication Apparatus And Its Method.” The ’581 Patent was duly and legally issued

by the United States Patent and Trademark Office on February 26, 2013. A true and correct

copy of the ’581 Patent is included as Exhibit A.

       99.     On information and belief, Verizon Connect has offered for sale, sold and/or

imported into the United States Verizon Connect products and services that infringe

the ’581 patent, and continues to do so. By way of illustrative example, these infringing

products and services include, without limitation, the Verizon Connect “Work” software

and service, the “Fleetmatics Work” software and service, and the Work Mobile
application, and all versions and variations thereof since the issuance of the ‘581 patent

(“Accused Instrumentalities”).

       100.    On information and belief, Verizon Connect has directly infringed and

continues to infringe the ‘581 Patent, for example, by making, selling, offering for sale,

and/or importing the Accused Instrumentalities, and through its own use and testing of the

Accused Instrumentalities, which constitute communication apparatus of Claim 1 of the

‘581 Patent comprising: a storage unit configured to store content data to a storage medium;

a communication unit configured to communicate with an external apparatus; a controller

configured to edit a list so that content data is registered in the list, to uniquely associate

the list with the external apparatus using a unique identification of the external apparatus,

to extract the list associated with the external apparatus from a plurality of lists in the
communication apparatus when the external apparatus is connected to the communication

apparatus, and to control transferring of content data registered in the extracted list to the

external apparatus. Upon information and belief, Verizon Connect uses the Accused

Instrumentalities, which are infringing systems, for its own internal non-testing business

purposes, while testing the Accused Instrumentalities, and while providing technical

support and repair services for the Accused Instrumentalities to Verizon Connect’s
customers.



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          101.   On information and belief, Verizon Connect has had knowledge of the ‘581

Patent since at least the filing of the original Complaint in this action, or shortly thereafter,

and on information and belief, Verizon Connect knew of the ‘581 Patent and knew of its

infringement, including by way of this lawsuit. By the time of trial, Verizon Connect will

have known and intended (since receiving such notice) that their continued actions would

actively induce and contribute to the infringement of the claims of the ‘581 Patent.

          102.   On information and belief, use of the Accused Instrumentalities in their

ordinary and customary fashion results in infringement of the claims of the ‘581 Patent.

          103.   Verizon Connect’s affirmative acts of making, using, selling, offering for

sale, and/or importing the Accused Instrumentalities have induced and continue to induce

users of the Accused Instrumentalities to use the Accused Instrumentalities in their normal

and customary way to infringe the claims of the ‘581 Patent, knowing that when the

Accused Instrumentalities are used in their ordinary and customary manner, such systems

constitute infringing communication systems comprising: a storage unit configured to store

content data to a storage medium; a communication unit configured to communicate with

an external apparatus; a controller configured to edit a list so that content data is registered

in the list, to uniquely associate the list with the external apparatus using a unique

identification of the external apparatus, to extract the list associated with the external
apparatus from a plurality of lists in the communication apparatus when the external

apparatus is connected to the communication apparatus, and to control transferring of

content data registered in the extracted list to the external apparatus. For example, Verizon

Connect explains to customers the benefits of using the Accused Instrumentalities, such as

by touting their advantages of allowing “Automatically Work Offline. Job information is

automatically saved when a Fieldworkers has lost Photos, notes and more get synced when

they’re          back          online.”             https://support.work.fleetmatics.com/hc/en-

us/articles/360000236706-What-is-the-difference-between-Work-Classic-App-and-
Work-Mobile-App-. Verizon Connect also induces its customers to use the Accused


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Instrumentalities to infringe other claims of the ‘581 Patent. Verizon Connect specifically

intended and was aware that the normal and customary use of the Accused Instrumentalities

on compatible systems would infringe the ‘581 Patent. Verizon Connect performed the

acts that constitute induced infringement, and would induce actual infringement, with the

knowledge of the ‘581 Patent and with the knowledge, or willful blindness to the

probability, that the induced acts would constitute infringement. On information and belief,

Verizon Connect engaged in such inducement to promote the sales of the Accused

Instrumentalities, e.g., through Verizon Connect’s user manuals, product support,

marketing materials, demonstrations, installation support, and training materials to actively

induce the users of the accused products to infringe the ‘581 Patent. Accordingly, Verizon

Connect has induced and continues to induce end users of the accused products to use the

accused products in their ordinary and customary way with compatible systems to make

and/or use systems infringing the ‘581 Patent, knowing that such use of the Accused

Instrumentalities with compatible systems will result in infringement of the ‘581 Patent.

Accordingly, Verizon Connect has been (since at least as of filing of the original complaint),

and currently is, inducing infringement of the ‘581 Patent, in violation of 35 U.S.C. §

271(b).

          104.   Verizon Connect has also infringed, and continues to infringe, claims of the
‘581 patent by offering to commercially distribute, commercially distributing, making,

and/or importing the Accused Instrumentalities, which are used in practicing the process,

or using the systems, of the ‘581 patent, and constitute a material part of the invention.

Verizon Connect knows the components in the Accused Instrumentalities to be especially

made or especially adapted for use in infringement of the ‘581 patent, not a staple article,

and not a commodity of commerce suitable for substantial noninfringing use. For example,

the ordinary way of using the Accused Instrumentalities infringes the patent claims, and as

such, is especially adapted for use in infringement. Accordingly, Verizon Connect has been,
and currently is, contributorily infringing the ‘581 patent, in violation of 35 U.S.C. § 271(c).


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       105.    For similar reasons, Verizon Connect also infringes the ’581 Patent by

supplying or causing to be supplied in or from the United States all or a substantial portion

of the components of the Accused Instrumentalities, where such components are

uncombined in whole or in part, in such manner as to actively induce the combination of

such components outside of the United States in a manner that would infringe the ’581

Patent if such combination occurred within the United States. For example, Verizon

Connect supplies or causes to be supplied in or from the United States all or a substantial

portion of the and software components of the Accused Instrumentalities in such a manner

as to actively induce the combination of such components outside of the United States.

       106.    Verizon Connect also indirectly infringes the ’581 Patent by supplying or

causing to be supplied in or from the United States components of the Accused

Instrumentalities that are especially made or especially adapted for use in infringing the

’581 Patent and are not a staple article or commodity of commerce suitable for substantial

non-infringing use, and where such components are uncombined in whole or in part,

knowing that such components are so made or adapted and intending that such components

are combined outside of the United States in a manner that would infringe the ’581 Patent

if such combination occurred within the United States. Because the Accused

Instrumentalities are designed to operate as the claimed system and apparatus, the Accused
Instrumentalities have no substantial non-infringing uses, and any other uses would be

unusual, far-fetched, illusory, impractical, occasional, aberrant, or experimental. For

example, Verizon Connect supplies or causes to be supplied in or from the United States

all or a substantial portion of the software components that are especially made or

especially adapted for use in the Accused Instrumentalities, where such software

components are not staple articles or commodities of commerce suitable for substantial

noninfringing use, knowing that such components are so made or adapted and intending

that such components are combined outside of the United States, as evidenced by Verizon




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Connect’s own actions or instructions to users in and enabling and configuring the

infringing functionalities of the Accused Instrumentalities.
        107. The Accused Instrumentalities include “[a] communication apparatus.” As

an example, the Work Mobile application is designed to transfer data from a phone, tablet,

or other mobile device to the Verizon Connect Work Servers:




https://support.work.fleetmatics.com/hc/en-us/articles/360001075006-How-do-I-
download-the-Work-Mobile-App-




https://support.work.fleetmatics.com/hc/en-us/articles/360000245066-What-can-

fieldworkers-do-in-offline-mode-




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       108.    The Accused Instrumentalities include “a storage unit configured to store

content data to a storage medium.” For example, the phone, tablet, or other mobile device

on which the Work Mobile Application is designed to function contains storage medium

to store the application and associated entries by the Fieldworker.




https://support.work.fleetmatics.com/hc/en-us/articles/360001075006-How-do-I-

download-the-Work-Mobile-App-

       109.    The Accused Instrumentalities further include “a communication unit

configured to communicate with an external apparatus.” For example, the phone, tablet, or

other mobile device on which the Work Mobile application is running can communicate

data to the Work Admin / Work Connect Servers via WiFi or cellular networks:




https://support.work.fleetmatics.com/hc/en-us/articles/360000245066-What-can-
fieldworkers-do-in-offline-mode-



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       110.    The Accused Instrumentalities further include “a controller configured to

edit a list so that content data is registered in the list.” For example, the phone, tablet, or

other mobile device on which the Verizon Mobile Application is running includes a touch

screen or other interface that allows a fieldworker to input job data into the Work Mobile

Application. Such lists of data include: time on the job, Job Start/ Finish Questions, Job

Custom Fields, Client Custom Fields, Completion Notes, photos of the job, customer

signatures,    and   billing    items.   See        https://support.work.fleetmatics.com/hc/en-

us/articles/360000245066-What-can-fieldworkers-do-in-offline-mode-.
        111. The Accused Instrumentalities further include a controller configured “to

uniquely associate the list with the external apparatus using a unique identification of the

external apparatus.” For example, every Fieldworker has a “Fieldwork Profile,” or

identifier, which is created by Work Admin and stored in the Verizon Connect servers:




https://support.work.fleetmatics.com/hc/en-us/articles/360000798383-How-do-I-create-a-

fieldworker-




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https://support.work.fleetmatics.com/hc/en-us/articles/360000798383-How-do-I-create-a-

fieldworker-

The Fieldworker can access the Fieldworker profile, by entering a username and password

into the Work Mobile application:




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https://support.work.fleetmatics.com/hc/en-us/articles/360001148723-New-Work-

Mobile-App-Webinar




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        112.    The Accused Instrumentalities further include a controller configured “to

extract the list associated with the external apparatus from a plurality of lists in the

communication apparatus when the external apparatus is connected to the communication

apparatus.” For example, when the device running the Work Mobile application is

connected to the Verizon Connect Work servers / Work Admin, determines that job

information data input by the worker, has not been transmitted to Work Admin, will be

transferred and synced with data stored in the Verizon Connect servers / Work Admin, this

information will be transferred from the device to the servers.. The information to be

transferred includes: time on the job, Job Start/ Finish Questions, Job Custom Fields,

Client Custom Fields, Completion Notes, photos of the job, customer signatures, and

billing items. See https://support.work.fleetmatics.com/hc/en-us/articles/360000245066-

What-can-fieldworkers-do-in-offline-mode-.




https://support.work.fleetmatics.com/hc/en-us/articles/360000245066-What-can-

fieldworkers-do-in-offline-mode-

        113.    The Accused Instrumentalities further include a controller configured “to

control transferring of content data registered in the extracted list to the external apparatus.”

For example, when the device running the Work Mobile application is connected to the

Verizon Work servers / Work Admin, data input by the worker will be transferred and

synced with data stored in the Verizon Work servers. Such lists of data include: time on
the job, Job Start/ Finish Questions, Job Custom Fields, Client Custom Fields, Completion



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Notes,     photos     of   the   job,   customer    signatures,   and   billing   items.   See

https://support.work.fleetmatics.com/hc/en-us/articles/360000245066-What-can-

fieldworkers-do-in-offline-mode-.




https://support.work.fleetmatics.com/hc/en-us/articles/360000245066-What-can-

fieldworkers-do-in-offline-mode-

          114.   Verizon Connect also infringes other claims of the ’581 Patent, directly and

through inducing infringement and contributory infringement.

          115.      On information and belief, use of the Accused Instrumentalities in their

ordinary and customary fashion results in infringement of the methods claimed by the ’581

Patent.

          116.   By making, using, offering for sale, selling and/or importing into the United

States the Accused Instrumentalities, and touting the benefits of using the Accused

Instrumentalities’ data communication features, Verizon Connect has injured Data Scape

and is liable to Data Scape for infringement of the ’581 Patent pursuant to 35 U.S.C. § 27

          117.   As a result of Verizon Connect’s infringement of the ’581 Patent, Data

Scape is entitled to monetary damages in an amount adequate to compensate for each

Verizon Connect’s infringement, but in no event less than a reasonable royalty for the use




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made of the invention by Verizon Connect, together with interest and costs as fixed by the

Court.

                                       COUNT VII

                  INFRINGEMENT OF U.S. PATENT NO. 7,720,929

   (Against Verizon Communications and Verizon Connect collectively “Verizon

                                     Connect”)
         118.   Data Scape is the owner by assignment of United States Patent No.

7,720,929 (“the ’929 Patent”), entitled “Communication System And Its Method and

Communication Apparatus And Its Method.” The ’929 Patent was duly and legally issued

by the United States Patent and Trademark Office on May 18, 2010. A true and correct

copy of the ’929 Patent is included as Exhibit B.

         119.   On information and belief, Verizon Connect has offered for sale, sold and/or

imported into the United States Verizon Connect products and services that infringe

the ’929 patent, and continues to do so. By way of illustrative example, these infringing

products and services include, without limitation, the Verizon Connect “Work” software

and service, the “Fleetmatics Work” software and service, and the Work Mobile

application, and all versions and variations thereof since the issuance of the ‘929 patent
(“Accused Instrumentalities”).

         120.   On information and belief, Verizon Connect has directly infringed and

continues to infringe the ’929 Patent, for example, by making, selling, offering for sale,

and/or importing the Accused Instrumentalities, and through its own use and testing of the

Accused Instrumentalities, which constitute the communication system of Claim 1 of

the ’929 Patent comprising: a first apparatus having a first storage medium, and a second

apparatus, said second apparatus comprising: a second storage medium configured to store

management information of data to be transferred to said first storage medium, a
communicator configured to communicate data with said first apparatus, a detector


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configured to detect whether said first apparatus and said second apparatus are connected,

an editor configured to select certain data to be transferred and to edit said management

information based on said selection without regard to the connection of said first apparatus,

and a controller configured to control transfer of the selected data stored in said second

apparatus via said communicator based on said management information edited by said

editor when said detector detects that said first apparatus and said second apparatus are

connected, wherein said controller is configured to compare said management information

edited by said editor with management information of data stored in said first storage

medium and to transmit data in said second apparatus based on the results of the

comparison.      Upon information and belief, Verizon Wireless uses the Accused

Instrumentalities, which are infringing systems, for its own internal non-testing business

purposes, while testing the Accused Instrumentalities, and while providing technical

support and repair services for the Accused Instrumentalities to Verizon Wireless’s

customers.
      121.       On information and belief, Verizon Connect has had knowledge of the ’929

Patent since at least the filing of the original Complaint in this action, or shortly thereafter,

and on information and belief, Verizon Connect knew of the ’929 Patent and knew of its

infringement, including by way of this lawsuit. By the time of trial, Verizon Connect will

have known and intended (since receiving such notice) that its continued actions would

actively induce and contribute to the infringement of the claims of the ‘929 Patent.

        122.    On information and belief, use of the Accused Instrumentalities in their

ordinary and customary fashion results in infringement of the claims of the ‘929 Patent.

        123.     Verizon Connect’s affirmative acts of making, using, selling, offering for

sale, and/or importing the Accused Instrumentalities have induced and continue to induce

users of the Accused Instrumentalities to use the Accused Instrumentalities in their normal



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and customary way to infringe Claim 1 of the ’929 Patent, knowing that when the Accused

Instrumentalities are used in their ordinary and customary manner such systems constitute

infringing communication systems comprising: a first apparatus having a first storage

medium, and a second apparatus, said second apparatus comprising: a second storage

medium configured to store management information of data to be transferred to said first

storage medium, a communicator configured to communicate data with said first apparatus,

a detector configured to detect whether said first apparatus and said second apparatus are

connected, an editor configured to select certain data to be transferred and to edit said

management information based on said selection without regard to the connection of said

first apparatus, and a controller configured to control transfer of the selected data stored in

said second apparatus via said communicator based on said management information

edited by said editor when said detector detects that said first apparatus and said second

apparatus are connected, wherein said controller is configured to compare said

management information edited by said editor with management information of data stored

in said first storage medium and to transmit data in said second apparatus based on the

results of the comparison. For example, Verizon Connect explains to customers the

benefits of using the Accused Instrumentalities, such as by touting their advantages of

communicating and sharing data among multiple devices: “Automatically Work Offline.

Job information is automatically saved when a Fieldworkers has lost Photos, notes and

more get synced when they’re back online.” https://support.work.fleetmatics.com/hc/en-

us/articles/360000236706-What-is-the-difference-between-Work-Classic-App-and-

Work-Mobile-App-. For similar reasons, Verizon Connect also induces its customers to

use the Accused Instrumentalities to infringe other claims of the ’929 Patent. Verizon




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Connect specifically intended and was aware that the normal and customary use of the

Accused Instrumentalities on compatible systems would infringe the ’929 Patent. Verizon

Connect performed the acts that constitute induced infringement, and would induce actual

infringement, with the knowledge of the ’929 Patent and with the knowledge, or willful

blindness to the probability, that the induced acts would constitute infringement. On

information and belief, Verizon Connect engaged in such inducement to promote the sales

of the Accused Instrumentalities, e.g., through Verizon Connect’s user manuals, product

support, marketing materials, demonstrations, installation support, and training materials

to actively induce the users of the accused products to infringe the ’929 Patent.

Accordingly, Verizon Connect has induced and continues to induce end users of the

accused products to use the accused products in their ordinary and customary way with

compatible systems to make and/or use systems infringing the ’929 Patent, knowing that

such use of the Accused Instrumentalities with compatible systems will result in

infringement of the ’929 Patent. Accordingly, Verizon Connect has been (since at least as

of filing of the original complaint), and currently is, inducing infringement of the ‘929

Patent, in violation of 35 U.S.C. § 271(b).

       124.     Verizon Connect also indirectly infringes the ’929 Patent by

manufacturing, using, selling, offering for sale, and/or importing the accused products,

with knowledge that the accused products were and are especially manufactured and/or

especially adapted for use in infringing the ’929 Patent and are not a staple article or

commodity of commerce suitable for substantial non-infringing use. On information and

belief, the Accused Instrumentality is designed to be used as an infringing communication

systems comprising: a first apparatus having a first storage medium, and a second apparatus,




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said second apparatus comprising: a second storage medium configured to store

management information of data to be transferred to said first storage medium, a

communicator configured to communicate data with said first apparatus, a detector

configured to detect whether said first apparatus and said second apparatus are connected,

an editor configured to select certain data to be transferred and to edit said management

information based on said selection without regard to the connection of said first apparatus,

and a controller configured to control transfer of the selected data stored in said second

apparatus via said communicator based on said management information edited by said

editor when said detector detects that said first apparatus and said second apparatus are

connected, wherein said controller is configured to compare said management information

edited by said editor with management information of data stored in said first storage

medium and to transmit data in said second apparatus based on the results of the

comparison. Because the Accused Instrumentality is designed to operate as the claimed

system for communication, the Accused Instrumentality has no substantial non-infringing

uses, and any other uses would be unusual, far-fetched, illusory, impractical, occasional,

aberrant, or experimental. Verizon Connect’s manufacture, use, sale, offering for sale,

and/or importation of the Accused Instrumentality constitutes contributory infringement of

the ’929 Patent. Accordingly, Verizon Wireless has been, and currently is, contributorily

infringing the ‘929 patent, in violation of 35 U.S.C. § 271(c).

       125.     The Accused Instrumentalities include a system for communicating data.

For example, the Accused Instrumentalities include “[a] communication system including

a first apparatus having a first storage medium, and a second apparatus.” As an example,

the Verizon Connect Work product is designed to transfer data between a device utilizing




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the Verizon Mobile Work application and the Verizon Connect servers / work admin. Both

the Verizon Connect servers and the device (e.g. smartphone, tablet, or other mobile

device) include storage media (e.g. flash memory, solid state drive, or hard disk):




https://support.work.fleetmatics.com/hc/en-us/articles/360001075006-How-do-I-

download-the-Work-Mobile-App-




https://support.work.fleetmatics.com/hc/en-us/articles/360000245066-What-can-

fieldworkers-do-in-offline-mode-


       126.     The Accused Instrumentalities include “said second apparatus comprising:

a second storage medium configured to store management information of data to be

transferred to said first storage medium.” For example, the smartphone, tablet, or other




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mobile device on which the Work Mobile application is utilized includes a storage medium

for storing information about a job that is input by a Fieldworker to be transferred to the

Verizon Connect servers / Work admin. Such information includes: time on the job, Job

Start/ Finish Questions, Job Custom Fields, Client Custom Fields, Completion Notes,

photos      of    the   job,   customer     signatures,    and    billing    items.    See

https://support.work.fleetmatics.com/hc/en-us/articles/360000245066-What-can-

fieldworkers-do-in-offline-mode-.

         127.    The Accused Instrumentalities further include a second apparatus

comprising “a communicator configured to communicate with said first apparatus.” For

example, the phone, tablet, or other mobile device on which the Work Mobile application

is running can communicate data to the Work Admin / Work Connect Servers via WiFi or

cellular networks:




https://support.work.fleetmatics.com/hc/en-us/articles/360000245066-What-can-

fieldworkers-do-in-offline-mode-


         128.    The Accused Instrumentalities further include a second apparatus

comprising “a detector configured to detect whether said first apparatus and a second

apparatus                                 are                                  connected.”

For example, the smartphone, tablet, or mobile device utilizing the Work Mobile

application will determine whether it is connected to the Work Admin, or Work servers:




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https://support.work.fleetmatics.com/hc/en-us/articles/360000245066-What-can-

fieldworkers-do-in-offline-mode-



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       129.     The Accused Instrumentalities further include a second apparatus

comprising “an editor configured to select certain data to be transferred and to edit said

management information based on said selection without regard to the connection of said

first apparatus.” For example, the phone, tablet, or other mobile device on which the

Verizon Mobile Application is running includes a touch screen or other interface that

allows a fieldworker to input job data into the Work Mobile Application. Such lists of data

include: time on the job, Job Start/ Finish Questions, Job Custom Fields, Client Custom

Fields, Completion Notes, photos of the job, customer signatures, and billing items. See

https://support.work.fleetmatics.com/hc/en-us/articles/360000245066-What-can-

fieldworkers-do-in-offline-mode-. This information can be edited even in “offline” mode,

where the Work Mobile application is not connected to the Verizon Connect servers / Work

Admin:




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https://support.work.fleetmatics.com/hc/en-us/articles/360000245066-What-can-

fieldworkers-do-in-offline-mode-



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       130.     The Accused Instrumentalities further include a second apparatus

comprising “a controller configured to control transfer of the selected data stored in said

second apparatus to said first apparatus via said communicator based on said management

information edited by said editor when said detector detects that said first apparatus and

said second apparatus are connected.” For example, when the smartphone, tablet or other

device has been working in offline mode and comes online, the data input by the

Fieldworker that has not been previously transferred to the Verizon Connect servers / Work

Admin will be synced with the servers:




https://support.work.fleetmatics.com/hc/en-us/articles/360000245066-What-can-

fieldworkers-do-in-offline-mode-


       131.     The Accused Instrumentalities further include a second apparatus wherein

said controller “is configured to compare said management information edited by said

editor with management information of data stored in said first storage medium and to

transmit data in said second apparatus based on result of the comparison.” For example,

when the device running the Work Mobile application is connected to the Verizon Connect

Work servers / Work Admin, determines that job information data input by the worker, has

not been transmitted to Work Admin, will be transferred and synced with data stored in




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the Verizon Connect servers / Work Admin, this information will be transferred from the

device to the servers.. The information to be transferred includes: time on the job, Job Start/

Finish Questions, Job Custom Fields, Client Custom Fields, Completion Notes, photos of

the        job,      customer       signatures,       and       billing       items.       See

https://support.work.fleetmatics.com/hc/en-us/articles/360000245066-What-can-

fieldworkers-do-in-offline-mode-.




https://support.work.fleetmatics.com/hc/en-us/articles/360000245066-What-can-

fieldworkers-do-in-offline-mode-


          132.    Verizon Connect also infringes other claims of the ’929 Patent, directly

and through inducing infringement and contributory infringement.

          133.    On information and belief, use of the Accused Instrumentalities in their

ordinary and customary fashion results in infringement of the methods claimed by the ’929

Patent.

          134.    By making, using, offering for sale, selling and/or importing into the

United States the Accused Instrumentalities, and touting the benefits of using the Accused

Instrumentalities’ data communication features, Verizon Connect has injured Data Scape

and is liable to Data Scape for infringement of the ’929 Patent pursuant to 35 U.S.C. § 271.




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As a result of Verizon Wireless’s infringement of the ’929 Patent, Plaintiff Data Scape is

entitled to monetary damages in an amount adequate to compensate for Verizon Connect’s

infringement, but in no event less than a reasonable royalty for the use made of the

invention by Verizon Wireless, together with interest and costs as fixed by the Court.

                                  PRAYER FOR RELIEF

          WHEREFORE, Plaintiff Data Scape respectfully requests that this Court enter:

          a.     A judgment in favor of Plaintiff that Verizon Wireless has infringed, either

literally and/or under the doctrine of equivalents, the ’581 Patent, ’929 Patent, the ’537

Patent, and the ’893 Patent (collectively, “asserted patents”);

          b.     A judgment in favor of Plaintiff that Verizon Connect has infringed, either

literally and/or under the doctrine of equivalents, the ’581 Patent, ’929 Patent, and the ’537

Patent;

          c.     A permanent injunction prohibiting each Defendant from further acts of

infringement of the asserted patents;

          d.     A judgment and order requiring each Defendant to pay Plaintiff its damages,

costs, expenses, and prejudgment and post-judgment interest for its infringement of the

asserted patents, as provided under 35 U.S.C. § 284;

          e.     A judgment and order requiring each Defendant to provide an accounting
and to pay supplemental damages to Data Scape, including without limitation, prejudgment

and post-judgment interest;

          f.     A judgment and order finding that this is an exceptional case within the

meaning of 35 U.S.C. § 285 and awarding to Plaintiff its reasonable attorneys’ fees against

each Defendant; and

          g.     Any and all other relief as the Court may deem appropriate and just under

the circumstances.




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                              DEMAND FOR JURY TRIAL

        Plaintiff, under Rule 38 of the Federal Rules of Civil Procedure, requests a trial by

jury of any issues so triable by right.


 Dated: February 27, 2019                         Respectfully submitted,


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                                                  Attorneys for Plaintiff Data Scape Limited




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